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                          VISTA HOME ENTERTAINMENT,
                   15     INC.
                   16
                                             UNITED STATES DISTRICT COURT
                   17
                                           CENTRAL DISTRICT OF CALIFORNIA
                   18
                   19     BUCK G. WOODALL, a.k.a. Buck              Case No. 2:20-cv-03772-CBM-E
                          Woodall, an individual,
                   20                                               Hon. Consuelo B. Marshall,
                                    Plaintiff,                      Courtroom 8D
                   21
                               v.
                                                                    DEFENDANT BUENA VISTA
                   22                                               HOME ENTERTAINMENT, INC.’S
                          THE WALT DISNEY COMPANY, a
                   23     Delaware Corporation; et al.,             TRIAL BRIEF (L.R. 16-10)

                   24               Defendants.                      Further PTC: Feb. 24, 2025, 9:00 a.m.
                   25                                                Trial Date:  Feb. 25, 2025

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                      1         Pursuant to Local Rule 16-10, Defendant Buena Vista Home Entertainment,
                      2   Inc. (“Buena Vista”) hereby submits this trial brief to address certain issues that it
                      3   intends to raise at the continued pretrial conference on February 24, 2025. See Fed.
                      4   R. Civ. P. 16.
                      5   I.    BUENA VISTA IS THE ONLY DEFENDANT
                      6         The Court’s summary judgment ruling was very clear: “Based on the Court’s
                      7   rulings in this Order, the remaining claim for trial is Plaintiff’s copyright
                      8   infringement claim based on distribution of Moana by Defendant Buena Vista
                      9   Home Entertainment after April 24, 2017.” Dkt. No. 558 at 35.
                   10           The Court confirmed the scope of the trial at the pretrial conference on
                   11     January 14, 2025. Tr. at 23 (quoting order and stating “there shouldn’t be a dispute
                   12     as to what the order says. That’s what it says.”). The Court has reiterated that
                   13     limitation several times in its pretrial rulings. See, e.g., Dkt. No. 660 at 2; see also
                   14     Dkt. No. 689 at 2 (“[C]onsolidation would risk confusion since the remaining issue
                   15     to be tried in this action is Plaintiff’s claim for copyright infringement based on
                   16     distribution of Moana by Defendant BVHE after April 24, 2017.”).
                   17           Nonetheless, Plaintiff Buck Woodall has continued to file baseless motions
                   18     to make an end-run around the Court’s clear summary judgment ruling and has
                   19     further proposed that the jury be instructed and decide whether parties in addition to
                   20     Buena Vista are liable for copyright infringement. He has attempted to sweep into
                   21     trial parties that have been dismissed from this case, parties that have never been
                   22     named as defendants in this case, and some parties that are not even entities at all.
                   23     Plaintiff’s refusal to recognize that Buena Vista is the only defendant remaining in
                   24     the case has led him to propose jury instructions identifying six entities as
                   25     defendants and a verdict form identifying seven entities as defendants.
                   26           Accordingly, Buena Vista asks that the Court: (1) reiterate its ruling that “the
                   27     remaining claim for trial is Plaintiff’s copyright infringement claim based on
                   28     distribution of Moana by Defendant Buena Vista Home Entertainment after April
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                      1   24, 2017,” Dkt. No. 558 at 35; (2) order that references to the defendant in this case
                      2   be in the singular (“defendant”) and not the plural (“defendants”); and (3) order that
                      3   the jury instructions, verdict form, and other information presented to the jury
                      4   identify as the defendant, only Buena Vista.
                      5   II.   TIMING OF PRESENTATION OF WORKS
                      6         Plaintiff asserts a claim for copyright infringement of three separate works:
                      7   (1) a 2003 treatment, character descriptions, and associated artwork for “Bucky: an
                      8   Animated Feature Project,” which Plaintiff registered with the Copyright Office in
                      9   2004 (the “2003 Treatment”); (2) a 2008 treatment and character descriptions for
                   10     “Bucky The Surfer Boy,” which Plaintiff registered with the Copyright Office in
                   11     2014 (the “2008 Treatment”); and (3) a 2011 screenplay for “Bucky The Surfer
                   12     Boy,” which Plaintiff also registered with the Copyright Office in 2014 (the “2011
                   13     Screenplay”). The allegedly infringing work is the motion picture Moana.
                   14           Buena Vista requests that the Court have the Plaintiff’s three works read, and
                   15     Moana played, to the jury after the Court’s preliminary instructions and before
                   16     opening statements. The Court has discretion to proceed in this fashion under
                   17     Federal Rule of Evidence 611, which states that “[t]he court should exercise
                   18     reasonable control over the mode and order of examining witnesses and presenting
                   19     evidence.” Fed. R. Evid. 611(a). Following the requested procedure will ensure
                   20     the fairest and most unbiased presentation of the parties’ works, enable the parties
                   21     to present evidence effectively and economically, and best guide and assist the jury.
                   22           The parties’ works themselves are at the very heart of this action and will be
                   23     the subject of the vast majority of the evidence that the parties will introduce at
                   24     trial. There can be no proof of copyright infringement unless Plaintiff’s registered
                   25     works “are juxtaposed with [Moana] and their contents compared.” Antonick v.
                   26     Electronic Arts, Inc., 841 F.3d 1062, 1066 (9th Cir. 2016) (quoting Seiler v.
                   27     Lucasfilm, Ltd., 808 F.2d 1316, 1319 (9th Cir. 1987). Presenting the works to the
                   28     jury at the outset of the case will help streamline the presentation of testimony and
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                      1   other evidence. Conversely, keeping the works from the jurors until later in the
                      2   case will deprive the jurors of critical context, subject them to selective
                      3   characterizations of the works that are inherently scattershot, subjective, and
                      4   unreliable, and thereby sow juror confusion. See Litchfield v. Spielberg, 736 F.2d
                      5   1352 (9th Cir. 1984).
                      6         This is especially true in this case, where the parties have agreed that the jury
                      7   will be applying only the intrinsic test, and that substantial similarity under the
                      8   extrinsic test will be decided by the Court. The intrinsic test does not allow for
                      9   analytical dissection or a comparison of specific elements of the parties’ works, but
                   10     instead requires the jury to determine whether an ordinary lay observer would find
                   11     the “total concept and feel” of the works to be substantially similar. Berkic v.
                   12     Crichton, 761 F.2d 1289, 1292 (9th Cir. 1985). The only time the jurors will view
                   13     the parties’ works as ordinary lay observers would is before opening statements and
                   14     the taking of any testimony—that is, before the parties have an opportunity to
                   15     present their own “spin” on the works’ contents, thereby destroying the possibility
                   16     of an unbiased lay observation. In that way, the jury will be able to best understand
                   17     and evaluate the evidence as it is offered at trial.
                   18           Buena Vista recognizes that Plaintiff’s 2008 Treatment and 2011 Screenplay
                   19     are very similar, and Buena Vista therefore believes it would be adequate for the
                   20     jurors to be read just Plaintiff’s 2003 Treatment and either the 2008 Treatment or
                   21     the 2011 Screenplay before viewing Moana. However, Buena Vista does not object
                   22     if Plaintiff believes that all three of his works should be read to the jurors.
                   23           Buena Vista has met and conferred with Plaintiff’s counsel about the method
                   24     and timing of the presentation of the works, which Plaintiff’s counsel is
                   25     considering. Buena Vista is hopeful the parties will reach agreement on this
                   26     important issue before next Monday’s conference but raises it now so that time may
                   27     be allotted to resolve it, given its import and the effect it will have on the order of
                   28     evidence at trial.
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                      1   III.   WITNESS ISSUES
                      2          Buena Vista raises the following issues related to witnesses for consideration
                      3   at next Monday’s conference:
                      4          A.     Number of Witnesses
                      5          Plaintiff has filed four witness lists since February 11, 2025. Dkt. Nos. 588,
                      6   670, 672, 682. His most recent list discloses 33 witnesses he intends to call at trial.
                      7   Dkt. No. 682. Plaintiff’s amended summary of witness testimony, filed on
                      8   February 12, identifies 30 witnesses. Dkt 687. Plaintiff apparently intends to
                      9   examine many of the witnesses about more than 100 exhibits each. Id.
                   10            To be clear, Buena Vista objects to much of the witness testimony and many
                   11     of the exhibits identified in Plaintiff’s pretrial filings, as their introduction would
                   12     violate the Court’s pretrial rulings and/or be otherwise inadmissible. But even with
                   13     the proper narrowing of Plaintiff’s case, there is a significant risk that Plaintiff will
                   14     burn through all the available time at trial (or dramatically exceed it), leaving
                   15     Buena Vista unfairly prejudiced to defend itself against Plaintiff’s copyright
                   16     infringement claim.
                   17            Buena Vista must be allotted sufficient time to present its defenses—
                   18     including its affirmative defense of independent creation, for which it bears the
                   19     burden of proof. Buena Vista intends to present an appropriately streamlined
                   20     defense, but that will still require time in its own case-in-chief with the witnesses
                   21     that Buena Vista has identified (Dkt. No. 678). Although Buena Vista does not
                   22     seek to limit the number of witnesses that Plaintiff may call, it does request that the
                   23     Court impose reasonable limits on Plaintiff’s aggregate examination time to ensure
                   24     that Buena Vista is not prejudiced by Plaintiff’s shotgun approach to trial. See Fed.
                   25     R. Civ. P. 16(c)(2)(O) (district courts have broad discretion to impose reasonable
                   26     time limits on trial).
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                      1         B.     Expert Witnesses
                      2         The parties have identified four expert witnesses whose testimony is relevant
                      3   only to the extrinsic test for copyright infringement: David Roman and Terry Hunt,
                      4   designated by Plaintiff, and Jeff Rovin and Marie Alohalani Brown, designated by
                      5   Buena Vista. Because the parties have agreed that substantial similarity under the
                      6   extrinsic test will be decided by the Court, and not the jury, the testimony of these
                      7   witnesses should be presented outside the presence of the jury. Indeed, the Ninth
                      8   Circuit has made clear that jurors may not consider expert testimony in applying the
                      9   intrinsic test and determining whether, from the point of view of an ordinary lay
                   10     observer, the “total concept and feel” of the works are substantially similar. See
                   11     Skidmore as Trustee for Randy Craig Wolfe Trust v. Led Zeppelin, 952 F.3d 1051,
                   12     1064 (9th Cir. 2020). Accordingly, allowing Professor Roman, Dr. Hunt, Mr.
                   13     Rovin, or Dr. Brown to testify before the jury would not only waste the jurors’ time
                   14     but needlessly increase the risk that they will render a verdict based on evidence
                   15     that, under the clear law of this Circuit, they are not permitted to consider.
                   16           C.     Witnesses by Zoom
                   17           During the December 13, 2024 conference of counsel pursuant to Local Rule
                   18     16, Buena Vista provided notice that its expert Jeff Rovin, whose medical issues
                   19     preclude him from traveling to Los Angeles for trial, will testify at trial via Zoom.
                   20     Plaintiff’s counsel stated that they had no objection to Mr. Rovin testifying by
                   21     Zoom, and Buena Vista understands from the Court’s comments at the pretrial
                   22     conference on January 14, 2025 that the Court is agreeable to that as well.
                   23           In addition to allowing Mr. Rovin to testify by Zoom, Buena Vista would
                   24     like for Mr. Rovin and Dr. Brown to be permitted to observe the testimony of
                   25     Plaintiff’s experts, Dr. Roman and Dr. Hunt, via Zoom. Mr. Rovin was designated
                   26     as both a primary and rebuttal expert, and Dr. Brown was designated solely as a
                   27     rebuttal expert. It is therefore important that they be able to observe the testimony
                   28     of their counterparts, Dr. Roman and Dr. Hunt, before offering rebuttal testimony at
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                      1   trial. As noted above, Mr. Rovin is unable to travel to Los Angeles for health
                      2   reasons, and Dr. Brown’s teaching obligations at the University of Hawaii make it
                      3   difficult for her to travel to Los Angeles except for the day of her trial testimony.
                      4   Buena Vista will coordinate with the Court staff to make the appropriate
                      5   arrangements for remote viewing.
                      6   IV.     DEMONSTRATIVE AND WITNESS DISCLOSURES
                      7           On February 14, the parties exchanged the graphic or illustrative material to
                      8   be shown to the trier of fact as illustrating the testimony of a witness pursuant to
                      9   L.R. 16-2.3.
                   10             The parties have agreed that demonstratives to be used in openings
                   11     statements will be exchanged 48 hours before the start of trial, so that the parties
                   12     may raise any objections to those demonstratives at the conference on February 24,
                   13     and that witness demonstratives will be exchanged 24 hours in advance of their use
                   14     at trial.
                   15             Buena Vista proposes that the parties be ordered to disclose the witnesses
                   16     they intend to call no later than 2:30 p.m. the day before their testimony.
                   17     V.      RESPONSE TO PLAINTIFF’S MEMORANDUM OF CONTENTIONS
                   18             OF FACT AND LAW
                   19             Local Rule 16-10 contemplates the inclusion in this trial brief of a reply to
                   20     Plaintiff’s Memorandum of Contentions of Fact and Law. Buena Vista contends
                   21     that the Court’s interim rulings on motion practice since December 24, 2024 resolve
                   22     many of the erroneous statements of law that Plaintiff raised in his Memorandum
                   23     (Dkt. No. 587). Specifically, the Court has since confirmed that: (1) the only issue
                   24     to be tried is a single claim for against Buena Vista for copyright infringement after
                   25     April 24, 2017 (e.g., Dkt. Nos. 653, 660, 689); (2) there is no claim for conspiracy
                   26     or enterprise liability (e.g., Dkt. No. 659); (3) Plaintiff’s bifurcation theories are
                   27     meritless (Dkt. No. 653); and (4) the testimony of Plaintiff’s damages experts Stan
                   28     Smith and Cedar Boschan must be limited (Dkt. Nos. 656, 658, & 660).
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                      1   VI.      ENSURING COMPLIANCE WITH THE PRETRIAL RULINGS
                      2            On February 5, 2025, the Court issued Orders on Buena Vista’s six motions
                      3   in limine and three Daubert motions (collectively, the “Pretrial Rulings”). Dkt.
                      4   Nos. 656-664. These Orders followed the Court’s prior orders on the parties’ cross-
                      5   motions for summary judgment and Buena Vista’s Daubert motion to exclude or
                      6   limit the testimony of Plaintiff’s expert David Roman. Dkt. Nos. 558 & 559.
                      7            It appears from various pretrial submissions and exchanges that Plaintiff and
                      8   his counsel do not intend to comply with the Pretrial Rulings. By way of example,
                      9   on February 14, Plaintiff provided Buena Vista a 15-minute “trial presentation
                   10     video” that he apparently intends to present at trial. See Dkt. 692 (citing Plaintiff’s
                   11     Trial Exhibit 297). The video is replete with improper argument, violates the
                   12     Court’s Pretrial Rulings, and includes minutes-long excerpts of interviews that are
                   13     entirely hearsay and have not even been identified as exhibits for trial. More than
                   14     half of the exhibits that actually are on Plaintiff’s exhibit list are plainly
                   15     inadmissible, including financial records of the former defendants that the Court
                   16     has already ruled should be excluded (see Dkt. No. 679) and dozens of magazine
                   17     articles and online postings to which no hearsay exceptions could even conceivably
                   18     apply.
                   19              There is a substantial risk of unfair prejudice to Buena Vista if it is forced at
                   20     trial to continually object, before the jury, to Plaintiff’s ongoing efforts to introduce
                   21     evidence and argument that this Court has already ruled inadmissible. Indeed,
                   22     continuing, bad faith violations of a court’s pretrial orders can result in severe
                   23     consequences, including striking a jury award of damages and entering judgment
                   24     for the defendant. See Fuery v. City of Chicago, 900 F.3d 450, 463-69 (7th Cir.
                   25     2018). Accordingly, Buena Vista respectfully requests that the Court impress upon
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                      1   Plaintiff’s counsel the importance of complying with the Court’s Pretrial Rulings
                      2   and impose sanctions for flagrant violations without further warnings.
                      3
                          DATED: February 18, 2025                 KING & SPALDING LLP
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